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8                        UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               No. 2:17-cr-00205 WBS
13                 Plaintiff,

14        v.                                 ORDER
15   GRANT NOTT,

16                 Defendant.

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19             Defendant, acting pro se, has filed a “28 U.S.C.

20   3582(c)(1)(A) Motion” which requests his release or placement on

21   home confinement.    (Docket No. 52.)    A defendant may obtain such

22   relief only through a motion by the Director of the Bureau of

23   Prisons or upon the defendant’s own motion “after the defendant

24   has fully exhausted all administrative rights to appeal a failure

25   of the Bureau of Prisons to bring a motion on the defendant’s

26   behalf or the lapse of 30 days from the receipt of such a request

27   by the warden of the defendant’s facility, whichever is

28   earlier[.]”   18 U.S.C. § 3582(c)(1)(A).
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1              This administrative exhaustion requirement is

2    mandatory.   See, e.g., United States v. Meron, No. 2:18-cr-209

3    KJM (E.D. Cal. Apr. 14, 2020) (citing United States v. Carver,

4    No. 4:19-CR-06044-SMJ, 2020 WL 1604968, at *1 (E.D. Wash. Apr. 1,

5    2020)); United States v. Holden, No. 3:13-CR-00444-BR, 2020 WL

6    1673440, at *10 (D. Or. Apr. 6, 2020); see also Gallo Cattle Co.

7    v. U.S. Dep’t of Agric., 159 F.3d 1194, 1197 (9th Cir. 1998)

8    (“[W]hile judicially-created exhaustion requirements may be

9    waived by the courts for discretionary reasons, statutorily-

10   provided exhaustion requirements deprive the court of

11   jurisdiction and, thus, preclude any exercise of discretion by

12   the court.”).

13             Here, there is no indication that defendant has made

14   any request to the Bureau of Prisons for his release or that he

15   has exhausted his administrative remedies for any such request.

16   Accordingly, the court will deny the motion.

17             IT IS THEREFORE ORDERED that defendant’s motion (Docket

18   No. 52) be, and the same hereby is, DENIED without prejudice to

19   refiling after defendant has shown that he has exhausted his

20   administrative remedies with the Bureau of Prisons.
21   Dated:   June 3, 2020

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